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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 17-1723-RBJ

CHARLI BATT, an individual

                 Plaintiff,

v.

MEDIATION PROCESSING SERVICES LLC, a Florida limited liability company,

                 Defendant.



                        MOTION FOR ENTRY OF CLERK’S DEFAULT


         Pursuant to Federal Rule of Civil Procedure 55(a), Plaintiff Charli Batt respectfully

requests that the Clerk enter default against Mediation Processing Services, LLC (the “Debt

Collector”). As grounds therefor, Plaintiff states as follows.

         1.      On July 17, 2017, Plaintiff commenced this action to enforce the Federal Fair

Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Colorado Fair Debt

Collection Practices Act, Colo. Rev. Stat. § 5-16-101 et seq. (“CFDCPA”)1, by filing a summons,

complaint, and civil cover sheet (Dkt. 1).




1During the last legislative session, the Colorado General Assembly renewed and amended the CFDCPA. S.B.
17-216. Senate Bill 17-216 added substantive provisions not applicable here, and moved the CFDCPA from
Title Twelve of the Colorado Revised Statutes to Title Five. Plaintiff filed this action prior to the relocation of
the CFDCPA, and all references in the complaint are to the original numbering. All references herein are to
the renumbered sections. The Colorado Attorney General has created a reference table to the renumbered
sections, available at
https://coag.gov/sites/default/files/contentuploads/cp/ConsumerCreditUnit/CAR/cfdcpa_retitle_cross_refe
rence.pdf.


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         2.     On July 31, 2017, Plaintiff served the Debt Collector with the summons,

complaint, and civil cover sheet. Accordingly, the Debt Collector was required to answer or

otherwise respond to the complaint on or before August 21, 2017. A true and correct copy

of the return of service is attached hereto as Exhibit 1.

         3.     Defendant failed to answer or otherwise respond to the complaint in the time

provided by the Federal Rules of Civil Procedure, and indicated its intent to be bound by any

judgment entered in this matter. Therefore, Plaintiffs respectfully request that the Clerk

enter default against Defendant.

         WHEREFORE, Plaintiff Charli Batt respectfully requests that the Court direct the Clerk

to enter default against Defendant Mediation Processing Services, LLC.

Dated this 13th day of September 2017.

                                                    Respectfully submitted,

                                                    /s/ Katherine Russell
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